Case 2:20-cr-00134-RMP   ECF No. 78-7   filed 12/22/21   PageID.961 Page 1 of 24




                            EXHIBIT G

     Hearings before the Subcommittee
    of the Committee on Appropriations

                           U.S. Senate

                         March 8, 1951
20-cr-00134-RMP       ECF No. 78-7            filed 12/22/21         PageID.962 Page
     DEPARTMENTS OF STATE, JUSTICE, COMMERCE
               AND THE JUDICIARY                                   99 1 _ 2
             APPROPRIATIONS FOR 1952



                               HEARINGS
                                     Ul~FORIO TUM

                       SUBCOMMI'ITJ•;E 0~' THE
         COMMITT~JE ON APPROPRIATIONS
            UNITBn 81,ATl-OS Sl~NA'fE
                       BIOH'l'Y-SI~COND CONGRESS

             MAIO NO APl'HOPJUA1~IONS FOR 'l'Irn DJ•;PARTMgN'f8
                OF S'l'A'l'E, JUSTICI~, COMMEltCE, AND TJIN
                    JUDICIAUY :mn. Tim l•'ISCAL YEAll.
                              Ji~NDINO JUNB 30, 1052


                                       PART 1
                                  (Pages 1-1181)
                            Samo ludox for Parts 1 nnd 2


               l'rlntctl for tho uso ,of tho Commlttl'o on Approprlntlons




                                   UNl'l'Fm 8TATMB
                          nov1m~MRNT l'lUS'rING OFli'lCID
       som                       WASUJNO1'ON : l0rst
20-cr-00134-RMP        ECF No. 78-7        filed 12/22/21      PageID.963 Page




       DEPARTMENTS OF STATE, JUSTIOE, COMMERCE, AND
          THE JUDICIARY APPROPRIATIONS FOR 1952

                          THURSDAY, KA.BOB 8, 191Sl

                                         UNITF.D STATES SENATE,
              Sunc,0ln11Trt:E OF THE Co1ntr1TEE ON    APPROPRIATIONs ...
                                                                      1
                                                      Wcu,hington, LI. 0.
       'l'he subcommittee met,lmrsuunt to recess, nt 10 a. m., in room F-89,
     the Cupitol, Hon. Pnt ~ cCnrrnn (chairman of the subcommittee)
     presiding.
       Present: Senntors :McCurran, McKellnr, nnd Ellender.
                       DEPARTMEN1' OF tTUS'rICE
                  bnnonATioN AND NATURALIZATION SEnvtoE

     STATEMENTS OF A, R. MACKEY, AOTfflG COMMISSIONER, IMMIGRA·
       TION AND NATURALIZATION SERVICE; PAUL WININGS, GEN•
       ERAL COUNSEL; EDWARD LOUGHRAN, ASSISTANT COMMIS•
       SIONER; WILLARD KELLY, ASSISTANT COMMISSIONER; AND
       DALE FRANCIS, BUDGET OfflCER
                        INCREASJ,~ IN Al,IEN Dl'}POUTATION

         Senator l\lcCAnRAN. We will continue with tho Immigration nnd
      Nntm·nliznt.ion Service.                                  ·
         :Mr..'MACKEY. Mr. Chnirmnn, I will proceed with my statement,
      if you J>lensc, sir.
         8enntor McCAnnAN, A11 right.
         l\fr. MACKEY, There ha8 been a t>1-0~1·($sivo increase over tho last
     several years in the totnl number of nhens expelled from the United
     States. Last yenr a J>eak of 070,105 wns rencl1ed, which wns almost
     double the t>l'el'ious yenr 1uul whirh is 50 times the number ex~elled
     from this country only 10 yen rs ngo. While it. is hn]Jossible to ilo so
     and we have not gh·ei1 fol'lnnl deportation hearings m a majority of
   . th~e cnses, it was necessnry, in connection with the apprehension
     of each of these aliens, to question them nt considerable length to
     determine their immig1·ntion status nnd to ascertain whether or not
     they might be permitted to depart in lieu of formal deportation.
                   ALU!NB lNVOl,\'ED IN tmnv1ms1VE OIIAROES

      As usunl, beenuse of long-drawn-out litigation and innbility to
    obtain trn.vel documents, the number of suhvershtes deported from
    the United States last iiscal year was very small in comparison with
                                                                   123
2:20-cr-00134-RMP      ECF No. 78-7       filed 12/22/21      PageID.964 Page 4

         124     STATE, JUSTICE, COMMERCE, JUDICIARY APPROPRIATIONS, l 962

          t.he totnl number expelled. Warrants of deportation based on sub-
          versive charges are now outstanding against 117 aliens. Of these,
          100 have been ontstanding for more thnn 0 months.
             Warrant henrings based on subversive charges nre uow pending in
          212 cases.
             Thero are now at liberty under -bond 154 aliens pending dete11ni-
         nntion of their deportabiliiy on subversive grounds.
             Senato1· McCARJUN. Let me interrupt_you there, Mr. Mackey. This
         matter comes to us continuously in the Judiciary Committee, nnu for
         that renson I nm very much interested iu it. We handled in the Ju-
         diciary Committee suspension of deportation cases to the extent of-
         if my recollection is correct-about 7,000 Inst yenr. Those suspen-
         sions come to us by reason of tho fnct thnt they nre first gl'llnted by
         the Department of Justice; nml then, under the lnw, they must come
        to• the Congress if the suspension is longer thnn 6 months. 'l'hCly
        come to tho Judfoiary Committee, and we hM'e to work on each in-
        dividual case as a cnse in itself.
          · You are now dwelling _on some 9f (hnt subject nmtter, nnd you seom
        to have but few deportations.
            l\lr. .MACKEY. I nm not clen1ing with the suspension procedure nt
        this point, Mr. Chnirinnn. I will reach thnt in nrr stntenwnt.
            Senator McC.ARRAN. 'l'o continue, my study of the subject indicntes
        thnt there have been but few real deportations.
            :Mr. MACI{EY. I think we can explain that, Senator.
                              DEI'ORTATION OP MEXICANS

          Senator llcCt\RRAN. Except when you get down to tho liexicun
        boundnry. Of course, you hnve all kmds of deportations there nnd
        removals from the territory of the United States. But thnt is n
        come-nnd-go proposition. In other words, there is n flood of people
        who come across the boundary. They are called wet-backs, and they
        come· ncross legally or illegnlly during- the various hnr,·est seasons.
        Then they go 6nck, and so you have t]ns como-and-go drifting there.
          Mr. MACKEY. That is right, sir.
                               DEPORTATION OF EUROPEANS

           Senntor McCAnRAN. Aside from thnt, I nm speaking lnrgely of
       European deportations of which there have been very few.
          Mr. MAcKEl". Mr. dinirman, mny I give you the present picture
       concerning a.II clnsses f
          Senator .McCARRAN. Yes.
          )Ir. l\faoKEY. Pending determination of deportnbility are 9 sub-
       v~rsiv88; .378 criminal, narC?tic, nnd immoral cases; 114 stowaways ·
       and smuggled alien111; 207 other cases-and among those, Senn tor, are
       cllses where it appears the alien ·ma:y be eligible for suspension of de-
       portntion. The totnl ·of nll classes m dewntion nt this time is 708.
          Senn tor McCABRAN. Those are in detention¥
          Mr. MACKEY~ Yes, in detehiioh.                '
         ,Senat~r MoCAnRAN. But that does not cover those not in-detention t




                                               I
20-cr-00134-RMP         ECF No. 78-7         filed 12/22/21      PageID.965 Page
    STATE, JU&l'ICE, COMMERCE, JUDICIARY APPROPRJATIONS, 1962             125
                          ALIENS RELEASF~ UNDER BOND

          .Mr. MAOitEY. I am getting to that, sir.
          Uoleased under bond there are 154 subversives; 422 criminal, nar-
      cotic, and immornls;107    stowaways and smuggled nHens; othe1· c)nsses►
      including those thnt mny be eligi}>Je to sus1,ension, 4,430; making o.
      total of 5,212. They are under bond.
         Henutor ELLExmm. How does n stowRwny hnppen to get n bond?
         :Mr. j\fac1ow. Somo of these stownwnys \ ntered ille~nlly n yenr or
                                                  1

      more ngo. 'l'hey hnvo bll,en here for some tim~. ,, e don!t relenso
     them; t.he courts wilJ rolense them on writs.
         Senator McCAttnAN. How numy cases hn\'e you, Mr. Muckey, if
     you cnn Rtnte the number, pending on writs now l
         Mr. MAoK1'~Y. I will 1·efer thnt question to .Mr. Winings.
         Mr. \V1N1Nos. I nm sorry, Senutor, hut I don't. think. ,rn c1m gh·e
     you t.hat figure nt the moment. You know how 1t ,·ur1es from day
     to dny.
         Sonntor McCAnRAN, .All right, )et me nsk yott lt few more questions
     on this subject. When you cntch up with ~mme fellow nn<l his attor1wy
     gets a writ for him, do you handle thnt in court or does the Depnrt-
     ment· of Justice 1
        Mr. WtNINos. The United States nttorney in the locnl nren where
    he is being detained hnndles it.
        Senator l\IcC.um.AN. Which is our Depnrtment of Justico1              ·
        Mr. W1NtNos. It is n pnrt of our Department of Justice.
        8enator McCARRAN. I forgot that for tho moment; that is right.
    So, the United States nttorney in the distl'ict. in which the nlien's at-
    torney obtains tho writ takes caro of the mutter for the Government l
        Mr. W1NINOS, 'fhnt is right, sir.
        Senator McCARttAN, Cnn you give me just a general idea of how
    mnny of those cases you hnve from day to day, npproximntelyi Do
    they run into the hundreds Y
        Mr. W1NINOs. I shouldn't. want to say thnt from dny to day they
    run into the hundreds, but thero nre ah,:nys 25 pending in tho cou11s.
    • Senator McCARRAN • .Al'o they principn1ly in New York!
        1\Ir. WINrxos. Some of them lun·e been here for n Jong time.
       Senntor McC,\RttAN. I sny, ttre they principally in Ne,,· York?
       .l\Ir. WrN1Nos. Of course, the lnrbrer number are in New York for
   obvious rensons. 'rhnt is tho largest port of entry, and it is the center
   of the alien J)OJ>ttlntion, r.erhnps, of the United States.
       Senator UcCAHIL\N. l'hey nro Jnrgl lv on the eastern senbonrd r
                                             1


   would y~u put it tl!nt way t                  ·
       Mr. \\- rNINOs, Str t
       Senato1' MoCARRAN. 1.'ho eastern senbonrd hns the greatest number
   of those cases 9                                            -
       l\Ir. W1NIN08. Thnt is right; and then, nntura11y, of course, there
   are mnny on the westem senboard.
       Senntor McCAnnAN. All right· I just wnntecl to see how mu(lh of
   tho time of the Service nncl tlie tltne of the Department. of Just.ire is
   taken up with court, procedure in these deportnt1on cnses. ~rom what.
   t gath~red, it seemed to be quite n Jot.            ·
       1\Ir. W1NtNoR: Mny I ndd a word 1
       Senntor McCAURAN. Yes.
:20-cr-00134-RMP        ECF No. 78-7          filed 12/22/21       PageID.966 Page
          126     STATE, JUSTI0IO, C0MM~RCE, JUDICIARY APPROPRIATIONS, 1 OU

               Mr. W1N1Ncts. In tlmt connect.iot1, :vou may be intN>t stml to know
                                                                        1

          thnt although tho United Stau1s nttoi·noys d,, t'f.lJ>l'Nmnt. tho Oovt:lrn-
          mont, ns pro1xwly thoy should, of course, our own onicN'R nt tho lot•nl
          porta coof>ornto ,,ori• ·closely with them, J.x,rnmm wo nm net.Ive in n.
          very spcr nl field, ni,d it hns hl'on found \'N'V hl'lpful if our num <'<>·
          o~rnte verv closely wit.h them in tho prcpnrnt.ion of rnses.
              Senntor McCMmAN. I hnvo somo cnses in mind thnt, hnvl' com<' to
          my nttantion in the Judidm·y Committoo in which it. np)>l'tU'R thnt, wlll'n
          tlio writ iR flnn11:v denied by tho <•ourt tht-v go to the cirt•uit. com·t of
         app<'n1s nnd, indeed, twon go ns high ns tho.Stipreme Court.
              Mr. WtNINoR. Oh, :Vl's, ns often ns thry cnn. 'l'lwre it. seems to lX'
         largely n question tlu:sc <lnys of whcthe1: t.lwy lmvo tho mon<'y to go
         thnt, fnr.
             Senntor ~foCAlUUN. Aro thl're not. ngenril's or orgnni1.ntions thnt
         furnish monoy for thnt very purpose!
             Mr. \VtNtNos. We hnve l,very remmn to know thnt t.hnt is so; Yl'8,
         siti. and more pnrt.iculnrl:v in eN·tnin types of rns€\s.
             :-senator McCAJlRAN. ,vm    you go into thnt ofT tho rl'cord.
              (Off-the-record discussion.)
                              AtJTIIORlTY TO   m-:rrAIN AI,lENS
             Alr. ~famn~Y. Ji'ollowing the off'-the-1·erord disrus.qion, I woulcl like
         to snv tlmt. unclorsection 20 of tho Immigrntion Act of 1017, ns nmf\ndl'cl
          by s·et•t.ion 23 of t.ho Internnl SMurify Art. of 1mm, tho Attorawv
          Uonernl lms tho power to dotnin nlicus JlC1tdin,:( a dotenuhmtion <if
         their deportncilit,y. Unde1· thnt nuthorit:v we took into custo<lv rm of
         the most nctive nhen members of tho Conimunist. Pnrty in tho Unitucl
         StntM. 1'hcy nll sued out writs of hn~ns corpus.
            'l'hose wrfts wore dismi~sed and tho alien remanded to custody
         in seven oases. Wl'its woro dismissl'cl nnd tho nlfon released by n
         court J>ending nppenl in one l'nso. Writs Wl'l'O withdrnwn and tho
         alien deported in one cnso. Writs wore sustained and the nlion ordered
         released on bond in 87 cases.
            Sennt01· McCARRAN. Nowl whnt dol's thnt, menn, "roleas~cl on bond,"
        when tho writ wns dismisscct 1
            Mr. MAoKr.v. 1'he writ wns sustained, sir, nnd the nlien wns ordered
        released on bond. I um ROrry if I suid "dismissed.''
           Senator McCARRAN". I bcheve I nm wrong thore.
           Under what authority did they relcaae· them on bond when thoy
        sustained t.he writ t
           Mr. MAOJ(EY. Thoy sustained the }letit.ion, but only on the sole
        question of tho right to bnil, Senator.
           There uro writs pending with the alien relcnscd on bond pending
        decision in four cnsos.                        ·
           Senator Mc0ARRAN. One of the lust clnssificntions thnt you mon•
       tioned is'tbo Harry Uriel~ cnse, whore the circuit t•ourt o·f np1><-nls
       held that he was ent.itled to bond although convicted.
           Mr. MACKEY. That wns a criminal case.                            .
           Senator Mc0ARRAN. That was a stl'aight conviction propMition.
           Mr. MACKEY, Sir, that was a criminal cage ns distinguished from
       these deportation proceedings.



                                                   I
20-cr-00134-RMP            ECF No. 78-7              filed 12/22/21
                                                         PageID.967 Page
     STATE, JUM'ICE, COMMt-mcB, JUDICIARY APPROPRIATIONS, 1 OU  127
                                  Al,1RN8 IN l)E'rRN'rlON

          Now, l\fr. Chnlrmnn, wo havo in detention whoro tho wurrnnts
      of dl'l)Ol'tution hn,·o heeu utttslnndiug for U monl hs or less, 2 sub-
      w1·si\'l's, 185 crimhml, naH·~oti(•, nml immm·uls, 17 stownwnys nnd
      Hllllll,!1-(ll'tl uJh,ns, nntl ~-W otlwr dns:-;t's, nmong which lll'l' thoso who
      might, ht' N1titl('(l to Ht1s1w11~ion, mnking n totnl of 41>:\.
         Of thnt cln~ wo lu\\'o l'l'h'n1·t,<f on bond 7 ~11h,·C'1"Hi\'l s, 42 criminnl,
                                                                              1


      mu·eot iu nml inmam·n1s, tr, s, ownwn,•s nml smu1,tg1",l nlit•ns, und -mo,
      nmong which nt·o those thnt might ho en tit lt•cl to susprnsion, urn king
     n totnl of r,ao.
         Of thut clnss on comlitionnl pnrolt,, we )uwe 2 sub,·ersh·Cls, 8 crim•
     innl, lllll'('otiu nnd immoruls, ~ stownwnys nml s1m1ggh•d nliens, nnd
     17~ ot hurs, nmong whit•h ntny lm t hoso l'itt it INI to 8llS}>l'llHion, mnking
     u totnl of 184.
         Jn oth~r words, we hn,·l, 1,107 nlh ns ns to whom wnl'l'nnts of d,,,1or•
                                                 1


     tntion hnn het n outstnndin~ for t; months or 1,,ss, some of t u~m
                  1    1


     being in th-tent ion, othm·s b,,mg rol, us, d untlN· bond, nnd othcl's on
                                                     1   1


     emu Iit ionn I \>n roft,.
         ~t'trnt01· ~ c~'AIUUN. Is tlll'ro n Wll)' to clc1m up thnt. m, ss nml get1


     thosl, who Ill'<' 111 clrh,nt ion out. of hl'l't' ·t
         Mr, M.\CK1w. Yl s, sir. We nro working on thnt.
                           1


         Sl'lrntor McC,\URAN'. 'l'h('\' oul,!ht to hl out of ht ro. "'o nrt, flll'<ling
                                                         1        1

     tlll'm nnd hou~ing tlll'm nnd c,·t~•·vt hing PIHl',
         l\lr. l\fac1rnY. W(, nr<', si1-. it is n <Jlll'stion of gt tting the tmvcl
                                                                          1


     dot•uml'nts for tll(lm. As you )mow{ u1ul01• tho lnh'rllld SPeuritv Act,
     the nlil'n hns t.ltl, right. to· sped fy t to country to whic-'. ho wish(ls to
     he tlt1porfod.
         Now, rofm•ring to tho totnls of nH group's s1wt'ifil'd hl'l't', we hnve in
    dcttmtion ta snbvcrsh·t'R, 7iO l'riminn1, tuu·t•oth· nnd inm101·nh;, t!la
    Rtown\\'U:\'H nnd Htnlll,!'gll'tl nliPns, nml ll~:l othN·s, nmo11g whom there
    mny hl' somt' who mnr uligible to suspNH,ion. 'l'hnt, ninlms n grnnd
    totitl of 1,M!S in dete1ition.
         Now, relensed undt1r bond we hn,·t, HH subvN'RiVClR, 4n.l t riminnl,         1


    nn1·t•otie nnd im11101·n Is, 212' stownwnvs nnd smuggh~d nlil'llR, nnd 4,-
    905 ot lw1-s, nmong whom t hl\ro mny 'lm some Clllt it lt d to snspNtsion.
                                                                      1

    'l'hut mnkes n ,rrnnd totnl of li,742.
        Pnrolml 01• undm· pna·o1e Sll}ltW\'i!don, WC' hnvc, 140 suh\'l'rsh·f\s, 1,710
    crimitml, nnrcotic tuul immot·nls, 127 stownwnYR nnd stmtj!glcd nlit'l\S,
    and 20,0:m othors, nmong whom nmv Ill' tluiso who lll'l\ ontitletl to
    susi>ellsion. 'l'hnt. mnlceA n grnml tot1il of 28,010.
        Now, under wan·mnh; of nt't'l'st. m1stW\'Nl ns Yl't, wo hnvo (l sub-
    versh·Cls, 70 crimi111tl, JHU't'otir. and immot·nls, • :10 stownwnys nnd
    smu,r~fod nHt,ns, nnd :l,•125 othlH'S, 'l'hnt. mnk(\c; n grnJtcl totnl o'f au37.
        'fho totn1A of tho gt·oups spl'dfil'd nrl' :J20 ~uh,·N-sh·l'R, 31026 t•rim 1nnl,
    nnrcot.ic nnd hnmot1\ls, liO~ stown.wnys nnd smuggled nlums, nnd 30,-
    886 oth<'l's, mnking n grnnd t.otnl of 30,'743.
               N.\TlON.ALtTY OJ.,• 1\(0S•r Ar.rnNs IN 1>1-:l'Olt'l'ATtON CARJ:S

       Senntot• Eu.1-!Ntn~R. Aro you nblo to foll from wh1tt count.ry tho mn-
    jorit.y of fh('SO peo11lc cotnc f
       l\fr. lfAc1rnv. I don't hnvo thnt right now, but wo will ho nhle to
    toll you.
          sol\rn-rn-1,t.1-0
:20-cr-00134-RMP       ECF No. 78-7           filed 12/22/21        PageID.968 Page
        128       STATE, JUSTIC», COMMERCE, JUDICIARY APPROPRIATIONSj 19&2
                                          .
           Senator McCARRAN. Cnn you get t.hat for us?
           Mr. l\lACKEY. Yes, sir.
           (The in:formntion requested is as follows:)
          Ol the 80.'148 outstnndlng C'llsee npproxlmatt\ly 2rs percent ln\'ol\'e Mcxlcnn
        nationals and nppro:llmntely 10 percent Involve netlonale of Iron curtain eoun-
        trtee.
          Of the remainder the predomlnnnt nntlonnlltles are Cnnndn, West Indies, Cen-
        tral nnd South America, Great Brltnln, Italy, France, Greece, Sweden, Chinn,
        and India.

                 ALIENS DP.PORTED   UNDER lNTFJtNAl,   SF.CtmlTY ACT OF    torrn
            Mr. l\IAOKEY. Int.he category of those deported since tho pnssnge
         of the Internal Security Act ol 1050, wo hnvo 18 subversive,g, which
         includes aliens actually and physically deported by tM and aliens who
         themselves left under orders of dcportntion. 1'o repent, we hnve in
       · that group 18 subversives deported, 616 criminal, narcotic, and im-
         mornls, 105 stowaways and smuggled ~liens, uud 2,640 others. Thnt
         m·nkes a fP.'Ulld total of 8,370 depo1·tecl smce tho passage of tho Internal
         Security Act of 1050.
           Senator McCAnRAN. Hns the Internal Securitv Act nccelernted the
        deportations 9                                         •
           l\fr. MACKEY. It hns, sir. Mr. Ke11y, who is Assistnnt Commis-
        sioner, Enforcement Division, will comment on that.
           Mr. KELLY. I would like to say that because of the actions of the
        courts in these subversive cases, it has not particulnrly nccelernted
        deportations. After the net was pnssecl nbout six that we hnd under
        orders of depol'tation, becnuso of the pnssnge of the net, we feel, did
        leave the United States, people we hncl been t1·ying to get rid of for
       a long time. But when oihers went to the courts nncl the courts up-
        held them in so many cases as to their right to hail, why, we began
       slackening off on getting rid of our subversives.
           However, as to other classes, such ns stowaways, smug,:rled aliens-
       I nm talking about classes other than Mexicans now-whom wo hnve,
       as a matter of nolioy, been holding in detention, and as to which
       cases the courts have seemed to distinguish the mutter of the right
       to bail as between a man who is admitted legally and who hns been
       here for many 1,enrs, we hn\'e accelerated deportation in those cnses
       because the evidence is there, and they are becoming cliscourngecl
       about trying to drag·out all of these administrative proceedings nnd
       going throt:-gl i all of this litigation in the courts. So ns to other
       classes we mny say thnt it hns uccelemted deporta,tions.
                                      MEXICAN OASES

         Se11ator ELLENl>ER. Mr. Kelly, would you be nble to gi\'(\ us per-
      centng~:w_ise the numb.er of those people just me11tioned by l\fr. Mnckey,
      the tli1rty some-odd-thousa~cle, who are Mexicans f Are there any
      Mexicans in there 9                         ·
         Mr. KELL~•. Yes, sir.. I suppose-nn4 I. nQ}. iust mnkit~g n. very
      rough estimate-that there may be as many as f0,000 Mexicans, po-
      t(µltJal suspension cases, whom ;we cannot mpve until we get a chance
      to adjudicate their applications for suspension.
20-cr-00134-RMP        ECF No. 78-7         filed 12/22/21
                                                        PageID.969 Page
       STATE, JU&rIC~, COMMERCE, JUDICIARY APPROPRIATIONS, 19&2 120
                            DEPORTADU,lTY OF STOWAWAYS
                                                                      I

         Senator Er,u:NDER. Mr. :Mackey, if you arrest a person who you
      )mow is n stownwny nnd identify tho ship on which he wns hrou~ht
      in, whnt is your recourse there 1 Cnn you make tho ship tnke lum
     bnck1
         Mr. MAoKI-~Y. Yes, sir. He is deportnble. If we apprehend him
      within o yenrs of entry, he is dcportnble at the expense of the stenm-
     ship that·brought him in.
         ( Off-the-record discussion.)
        Senator l\fcCARRAN. I wish to announce some very sud news. Sena-
     tor Chapman, who was in an automobile accident, I nm alMsed by
     tho clerk has passed away.
        Mr. MAOKEY, l•'ollowiug our comments off the record, may I say
     thnt I should like to do some additional talking off the record here
     at the proper points, if I may.
        Senntor MoCARRAN, All right.
        Mr. M'ACKEY, I have very capable assistnnts who could cnrry on,
     but I nm so interested in this matter that I would like to go ahead
     with this.
        Senntor McCAtmAN. All right.
                                 SUBVERSIVE CASES

         Mr. MACKEY. Warrant hearings bnsed on subversive chnrges are
      now pendin{' in 212 cases. There are now nt Jiherty under bond 154
      aliens pendmg determinntion of their deportnbilfty on subversive
      grounds. Nine such cases are presently in detention. Forty-three
      such cases. nre at large on conditional fa role. In this connection,
      fo11owing the enactment of the Internn Security Act of 1050, tho
      Service directed its field officers to tnke into custody nil those aliens
     under warrants of arrest who were active and prominent function-
      aries in the Communist party. Fifty were taken into custody. The
     courts directed the release of 89 on bond and 2 departed voluntarily
     in lieu of deportation, and Oare still in detention.
        It w~s contemplated that with the deportation of the 50 active
     and prominent member cases, we would proceed immediately with the
     apprehension of the remaining subversi\'e hut less active aliens num•
     bering perhaps double or more the active functionaries first taken
     into custody under the Internal Security Act. While appeals to these
    decisions of the courts releasing 89 aliens are being taken, further ac-
    tion along these lines will be in nccordnnce with the final decisions.
    Pending a conclusion of current litigation we are proceeding under
    those provisions of the Internal Security Act relating to supervision
    under parole and bond. During the fa.st fiscal year 11,857 aliens
    were placed on parole as compared with 8,111 the year before. Under
    the provisions of the 1nt.e~al Security Act of iOlSO, it is estimated
    that the t.ota1 number of nhens under parole will reach 15,000.
       ~en~tor ~lcCAnp~N. ,:,Ct me interrupt, you there for a question.
    Now, these on parole that you hn.ve:ment1oned-8,000, is that rightt
    , Mr. MAOKEY~ 11,851.                   ·   ..
    · . Senator AlcCARRAN. · Is their identity. made known to the FBI t
        Mr. MACKEY, We work ,·ery closely with tho FBI; yes sir.
        Senator McCARRAN. So the FBI lmows of these parolees¥
20-cr-00134-RMP ECF No. 78-7 filed 12/22/21 PageID.970 Page
         180 STATE, JUSTICJ1)1 COMMERCE, JUDICIARY APPROPRIATIONS, 19H
            Mr. MACKEY. We have perfect coordination, Senntor.
            Senator l\fcCARRAN. I see. Go ahead.
           Mi-. MAOK-EY. These nre under conclitionnl pnrole1 which requires
         them to make known theh· whereabouts, their activities, nncl so forth.
                           UDIIORATION llORDER l 1ATROL AO'l'l\'ITY

            The Immigration Border Patrol is "our first line of defense" nguinst
         the illegal entry of aliens into the United States. Lust fiscal year
         ending June 80, 1050, the force patrolled more than 10,000,000 miles,
         examined more than 2,000,000 convevnnces, nnd questioned more than
         7,000 000 persons. These operations· resulted in apprehension of 469,-
         581 deportable aliens-over six times the number 6 yenrs ago. The
         growing problem is indicated by the volume of aJ>prehensions by tho
         border patrol during recent years as follows:                        ·
           In the fiscal year 1045, there were 70 639 apprehensions by the
         border parto1. In 1046 there were 100,785. In 1047, there were
         104,054. In 1948 there were 108,852. In 1040 there wero 280,402.
         And in 1950 there were 460,581.
                                      MEXICAN OASES

             The illegal enb'J of Mexicans bas reacbecl such proportions thnt
          it is now comparntile to an invasion. Stnndnrd border pntrol opernt-
         in~ procedure is to conduct line operations at the critical border
         pomts determined largely by tmnsportation fncilities and the nature
         of the terrain and to throw ti line of back-up units across the prinoiJ>al
         avenues of travel away from the border-to screen travel from t Ult
         area and apprehend illegal aliens n.nd to search for them in the are!\
         between the border and the line established by the back-up units.
         Both lines of operations, the one along the international boundary
         nnd the other across the avenues of travel nwav from the borderi. are
        manned so thinly that many aliens inevitably succeed in their cn-orts
         to enter illegally and to reach interior destinations in the United
         States.
            The constant ap~rehension and expulsion of Mexican aliens who
        have entered illegally has become so burdensome that the Border
        Patrol is. almost powerless to cope with the threat of dangerous· types
        of aliens using this avenue to filter into the United States.
            Senator ELLENDER.· Let me ask you a question right there, if I
        may. Ma~y o,f these who come in from Mexico are not Mexicans; is
        that not· right¥
           Mr. MAoKEY. I· want to talk about that in a moment, Senator.
                                   ALIEN 8KUOOLINO
              .        .
         The tide of ille,pu entry from Mexico sh9uld be halted. It makes a
       farce of the immigration laws in that area. It constituw a ready
       a.venue·for Euro~n alien smuggling.            ·
          A. problem as of .now and for th& :future is ability of the bordei,
       patrol :force to ~eet the actual an4_potential alien smugglin2 situation.
       Smuggling is, on the increase.. The number$ apprehendeu in recent
       years are as follows:


                                                     ·'
20-cr-00134-RMP        ECF No. 78-7         filed 12/22/21      PageID.971 Page
       STATE, JU&l'ICE, COMMERCE, JUDICIARY APPROPRIATIONS, 1062            131
             In the fiscal yenr 1044, 110 smugglers wero npprehen<lecl. In the
         fiscnl yenr 1045, there were 136. In 1046 there were 220.• In 104:7
         there were 277. In 1048 there were 412, In 1049 there were 035. And
         in HHSO there were 118.
            Hore n!l'nin we nro npprehensh·o thnt the t.tue menning of these in-
        -0rensing numbers is n gt·owing clisregnrd for our laws uecnuSE, of nn
        uncforstnffecl nrm of enforcement.
            'l'he movement of nliens into Cnnncln from Europe continues and
        thoro nre strong inclirntions thnt it will continue nt an accelerated
        rnce. l\Inny of the nlhms who nre coming into Cnnndn do so with
        the desire ,incl intention to rl'nch this country ns soon us possible,
        leµnlly or ille~u11y.
            Se1intor MoCARRAN. Thnt hns been espccinlly true, ns the record
        before our committee shows, runongst. tho displnced persons. They
        hnvo come into Cnnndn. with no intention of rcmnining there. They
        hnve been selected by Cnnndn in Europe nncl brought over nt Cnnn<linn
        expense, in most instnnces, nn<l they hnve then come ncross our border.
           Mr. l\famcEY. Mny I proceed, sfr W
           Senntor l\IcCARRAN. Yes.
           )fr. MACI<EY, Organized rings of smugglers nre opernting in various
       sections of the United Stntes in concert ·with smugglel's nbrond. 'l'he
       smugglit1g of nliens hns been nccomplished nlong the Cnnnclinn border,
       nlong the l\foxicnn border, along the Gulf const nncl nlong the enst
       const of the United Stntes. AU indicntions point to nn nnticipnted
       increase in the number of nttempted smuggling operntions.
           World conditions being ns they are, mnny persons in countries with
       smnlI quotns nre riskiug cletection, imprisonment, nnd deportation by
       trying to stenl their wny into the Umted Stntes. Dm·ing the period
       from July 1, 1048, until November 1, 1050, n totnl of 1413 alien stown-
       wnys were found on bonrd ,·essels. One hundred seventy-five of this
       number wero found during the period from July 1 to October 311
       1050. The bulk of these ahen stownw~JS were found nt the ports ot
       New Yo1·k, Philndelphin, Bnltimorc, Nol'folk, an<l New Orlenns.
           Enr]y last fiscal year n border-pntrol unit was stationed in New
    . York for the purpose of searching and guarding ve~els sm~pected
      of carrying stowaways and to patrol the water front and harbor.
      Each of those curs is rndio-equipped. In the finnl 7 months of last
      fiscnl yenr the New York pnt.rol unit apprehended 757 deport.able
      nUens1 including 77 stowaways nud four smugglers. We hnve founcl
      that tile most effcct.ive wny to co~e with this problem is to meet each
      suspect ship immedintely on arr1vnl nnd search the ship from stem
     to stem. Within the last month we have authorized liorder-patrol
      units for Philadelphia, Baltimore, and Norfolk to provide the pro-
      tection needed at these ports-even at the expense of moving men
     from the land boundary where they cnn ill be spared from the task of
     preventing illegal entry across the bordel'.
                                 lNVESTIOATIONS

      There is hardly a phase of the enforcement and adjudicative
    operations of the imm1g1·ation and Naturalization Service thnt does
    not require that an inve..qtigation ho conducted at some stage in the
    proceedings. The growing security consciousness in this country addfJ
2:20-cr-00134-RMP ECF No. 78-7 filed 12/22/21 PageID.972 Page 12
           132 WtATE, JUSTIOD, COMMERCE, JUDICIARY APPROPRIATIONS, 19U
            ·to the imP<?rtance of investigations required in alt avenues of Immi-
            gration and Naturalization Service activity.
               During the past year, the investigt_1tions program of the Service
            placed spe_cial emphasis upon the ~roblems peculiar to the times, such
            a~ subversive aliens, smugglers, ancl related activities.
               During the fiscal yenr 1050 tho force completed 288,064 investiga-
            tions of all types. There were 38,462 pencltng at tho close of .June
            lOlSO. Of those completed 1,872 were based solely on subversive
           charges and 1,882 of th.ose pending involved subversive charges. Thie
           wns an increase of 82 percent over the cnses based solely on subversive
           charges the prior fiscal year.
               Unlawful activity flows through devious chnnnels encompassing
          ·emu~glers1 stowawn_ys1 forgery~ nncl fnlsifirntion of documents, cor-
           rupt.ton or public offictnls, nnd the like. The Immigration nncl Nnt-
          uralizntion Service hns tnken nctive steps to cope with the smuggling
          of aliens into the United Stntes. Last fiscal yenr 1,489 investigntions
          of smuggling activities were completed. Seven hundred nnd thirteen
          smugglers were apprehended, nn mcrense of 12 pprcent over tho prior
          year. Also, during lO!SO there were npprehendecl 243 persons nft(\r
          havini eft'ected illegal entry ns stownwnys. Widespread nnd closely
          coorchnnted investigative work is required to brenk these cases.
                                          N ATURALlZATION IN\"F,8TIOATIONS

            Last fiscal year the force completed 1,270 investigations involving
          ~ossible cance11ation of nnturalization, an increase of 15.7 percent over
          the prior fiscal yenr. Also, Jast fiscal year 1,244 investigations were
         initiated in cases of naturalized citizens suspected of engaging in sub-
         versive or proscribed activity-1,170 such cnses were pending at the
         close of the :vear.
            Last fiscal year 11>1004 cases involving suspension of deportation
         were invest.igntcd, an increase of 9 percent over tho prior year. There
         were submitted to Congress with recommendation for the granting of
         permanent status in suspension cases 4,452 cases, as compared with
         4,802 in 1049 nnd 3,160 in 1948. Since the passnge of the act of June
         28, 1940, authorizing susponsi9n of deportation, 32,858 nnmes hn, e           1

         been submitted to Congress for approval, or nn avernge of 3,230 a
         year.                   ·
                                LEOtBnATION FOR RELIEF OJI' lNDIVIDUALB

         . There has been a large increase in the number of private bi11s intro-
        duced for the: relief of· individuals subject to deportation. During
        tho Eighty-first :Con~ss, 2,738 private bill~ of tliie type were intro-
        duced as compa~ with 1141 during the Eightieth Congress. The
        Service is· required to conduct thorough investigations into the sub-
        jects of these bills in order that appropriate reports ma:v· be submitted
        ~ the .Con_gres9! The field force was ca1led upon to conduct 1,810 such
        mvest1gat1ons last year.                  ··       ·                   :
           .       .        .    .           CYrlmR 1'VESTIOA".rlON8
               l       •   ,,    •   ,:      •         •       •   '               I
          Other investiP.tional acoompUehments last flecal year were 101,tsOO
        cases contemplating warrants of arrest under general immigration
        laws, 86,164 cases involving visitors, studepts, transits or treaty mer-
                                                                       i
                                                                           ,
20-cr-00134-RMP       ECF No. 78-7         filed 12/22/21      PageID.973 Page 1
       STA'l"E, JUM'IOE, COMMERCE, JUDICIARY APPROPRIATIONS, 1962       138
       chnnta who bad remained longer than the temporary ~riods for which
       admitted or had violated tlie conditions under which temporarily
       admitted; 2,532 npplicnnts fot· adjustment of status under 'the terms
       of section 4 of the Displaced Persons Act of 1948, as amended; 9,823
       caaes involving violation of the Alien Registl'ation Act• 2,036 cases
       involving parole of deportnblc aliens; 7,530 petitioners for naturttli-
       zat.ion; and some 50,000 cases involving other miscellaneous subjects
       such ns contruct labor, npplicnnts for registry, irregular practice of
       nttomcys, personnel, and so forth.              ·
         JudgiUft by nil the objecth•o criteria available, the outlook for the
      approachmg firc;cnl year points convincingly to a substantial increase in
      the number of investigations which will be required in all fields of
      Service responsibility. 'fhe following nre tho highlights of this
      anticipated activity.
         It is snfo to predict, I believe, thnt there will be nn increase in the
      number of aliens investigated for possible deportnbility or exclud•
      ability on subversive grounds, nnd in th" number of naturalized citi-
      zens investigated for possible cancellation on like grounds. This·pro-
      diction is 1>redicated on the following current factors:
                                INTERNAL SECURITY

          Recent dovelopmonts, both nt home and abroad, have made the pub-
      lic at large more security conscious thnn ever before. Activity and
      remarks which have heretofore passed mmoticed by the average citizen
      have now acquired significnnce nnd aroused suspicion. Members of
      the publio have lost their prior apathy and do not hesitate to report
      items they consider questionable. As a result, there is already noted
      an increase in the number of complaints, both signed nnd anonymous,
      received from members of the public concerning aliens nnd naturalized
      citizens whose loyalty they suspect. Each complnint 1·eceived requires
      consideration.
         Intensified concentration by other agencies on inoornal-sccurity
     problems hns resulted in nn increase in the nmount of informntion
     haing mnde available conceming nliens and ,1aturnlized citizens. trhe
     number of reports of derogatory information received by this Service
     f rotn other agencies is constant.ly 011 tho incrense.
         Undercover informants hitherto unavnilnblo ure gradually being
     disclosed, thereby placing their hitherto unobtainable informnt.ion at
     the disposal of tliis Service. Persons who have up to now, for rensons
     of personal convenienco1 refused to divulge relevant infommtion nre
    now yielding under the 1mpnct of current events. Closer liaison with
    _agencies of friendlY. governments, plus tho march of ,vorld events,
    has resulted in opening up new sources of informntiou •
        .t\part ~rom t,lie ~umber of fonnal or~anizations being !!lade the
    subJect of 1nvest1gat10n, tJ1e number of national grou1>s ~mr1~ closer
    scrutiny is increasing as the result of the wol'ld situation. Tlius, for
    example, the dramatic turn of events in the Orient has placed numer-
    ous orientnls in a position where thoy must elect between the Commu•
    nists and the democratic forces. Forced to take a stand, many ol Ute
    Chinese and Koreans in this countr1- have indicated by their actions
    and associations that their sympathies are with the Communists.
    Thus, the recent developments abroad have required that we focus
    more sharply on entire nationnl groups and scrutinize all individuals
20-cr-00134-RMP       ECF No. 78-7         filed 12/22/21      PageID.974 Page
        134     STATE; JUSTic», COM.MER-OE, JUDICIARY APPROPRIATION-81 1OH

         in those groups with much greater cnre thnn heretofore. As tho inter-
         national situation develops, additional groups will logically come
         under the microscope.
            Recent legislation pnrticularly the Intornal Security Act of 10lSO
         has set up additional legal grounds for l'Xclusion, clepo·rt.ntion, denini
        of citizenship, and den·nturnlizntion. Aclclitionnl invcstigntions nro
        required to determine whether persons, heretofore unnffectecl by tho
        prior legislntion, aro now suhjl'ct to Sel'\'ico net.ion.           ·
           The increased tension nbrond hns aggravated the demand for illegal
        entry on the pnrt of aliens unnb1e to effect legal entry. This is fruo
        not only with respect to aliens seeking to enter the Unif~d States direct
        from Europe or the Orient, but also with respect to aliens who hnvo
        1·ecently mnde their way into countries of the Western Hemisphere.
        Cnnadn, Mexico, Cuba, and other of om· good neighbors have recently
        experienced a Jnrge influx of European aliens, numbering in the hun-
        dreds of thousands. While mnny of tltl'SO are settled in good fnith,
        it is obvious thnt mnny others rognrd their pres'ent locnt.ion merely as
        n way.station 01· stepping-oft' pince for entry into the United Stutes
        when the opportunit,y presents itself. Recetit, expet•ienre with nliens
       smuggled into the United States after lawful admission into Cnnndn
       indicates clearly thnt the immigration into Cnnndn wns engineered bv
       smu,zglors as pnrt of n carefu11y planned border-jumping project.
       While some of the smu,zgling gangs have been exposed and broken up,
       it is obvious that the huge number of re<'ent)y ar1·1ved European aliens
       in Western Hemisr.here countries forms n. 'profitable 1-eservoir ft·om
       which smugglers will continue to dmw.
          Senator Er.tRNDER, From thnt statement, nre we to judge thnt aliens
       can more easily come into Cnnnda than into the United States 1 Is
       there not some way by which Cnnndn. cnn look into thnt, nnd cnn we
      not get their coo~emtfon t
          :Mr. MACKEY. Yes, sir; we do hnve their cooperation. Of course,
      t.hat is through the Secretary of State who deals with the Canadian
      nut.horities. We do have the ~u1l cooperation of the Canadian authori-
      ties,
                             n.r.EOAL TRAVEL DOOUMENTS

           Tho use of counterfeit and altered tmvel documents as n. means of
        eft'ect.ing iHegnl entry gives every indication of being on the increase.
        The increasing tension. in tho Orient hns aggravated the desire of nu-
        tnerous Chinese to get to tho United St~tes liy hook or crook. Within
       'the pnst few months, a gnns- trafficking m forged travel documents has
       bAf\n unmasked. Current mvesti~tion indi<'ates that the operations
       ol this ~ng were much more widespread than was originn11y sus-
      ~ted. -How far the ramiflcntions extended, and what other groups
      will be exposed, is a matter dependent on t11e investigation which. is
      still ctirrent. It is sufficient to sny thnt there is obvious need for more
      intensive investigation in the entire field of spurious travel documents.
          There are numerous reasons why deportation investigations will
      increase in the coming flscnl year. Increased international tension
      always remtlts in increased overstays on the part of temporary visitors,
      ~men, students, and so forth. Many of these who a~ now mnintnin-
      ing status it is believed will be tempted to 1~main when their stn:r
      e~pires during the· time to come. In addition, many new cases of
20-cr-00134-RMP         ECF No. 78-7         filed 12/22/21        PageID.975 Page
      STATE, JUSTICE, COMMERCE, JUDICIARY APPROPRIATIONS, 1932                  135
      unlawfully resident nliens wiU come to li~ht ns the result of the nnnunl
      registrntion of current nddress recently mnugumtecl under section 35
      of the Alien Uegistrntion Act, ns nmended by t.he Intemnl Security
      Act of 1050. While t.he full effect of this regist.rntion wiH not ho
      known for some time, it is presently clenr that numerous deportation
      investigations wiU result from the fncts thnt ( 1) mnny nhons long
      sought will hnve rcwenled their present wherenbouts; (2) mnny nliens
      who hnd never theretofore re~1stered n1·e impelled by the pttblicit)'
      given the net to come into ser,;tce offices to inquire nbout their inu111-
      g1·ntion status, and mnny nre ft1und to be deportnhle.


         In nclclition, the l'ecl'nt nmendment to the Displnced Persons Act of
       1048 hns crentecl nn ndditionnl ground for deportntion in the cnses of
      clisplnced persons who nhnndon their contrnctunl employment under
      circumstnnces inclicntive of nn initinl frnttduJent intent .
         .An incrense cnn be nnticipnted in tho number of im·estigntions in-
      cident to susl>ension of deportation. :Mnny of the nlieus whose unlaw-
      ful lll'esence 1s disclosed ns a r<'sult of tho registrntion undl't' the Alien
      Reg1strntion Act will doubt.Jess npply for suspension of deportation.
      In adclition, ns addit.ionnl numbers of aliens achieve tho 7-ycnr-resi-
      denco requirement of section 10 (c.) of the 1017 net., they will be
      tempted to disclose their unlawful presence nml apply for si1spension
     of deportation.
        ,ve do not nssnmc thnt there will be a dhninut.ion in the nmnber of
     }!rivnte bi11s introduced in behnlf of unlnwfully resident n1iens.
     <Juite the contrary, the trend is upwnrd and tl1e fnctors which mnke
     for such n trend a're still operatiYe, nnmel)', incrensing tension nhrond
     and decreasing desire on the 1>nrt of nhens to return to their own
     troubled lnnds.
                         FAII~URES TO mm1s·nm AS, AJ.U~NS

        As nn nclditionnl burden we shnll hnve the cnses of aliens who fnilecl
      to register ns required by law nncl who will hnvo to be hwestignted
     to determine whether ci·iminnl prosecutfon, the only guarantor of
     efTecth·o enforcement, will he instituted. We nlso ex1iect. n continuecl
     heavy volume of cnses involving entries without inspection, illegnl
     entry nfter deportntion, smuggling, fraudulent documents, and
     stowaways.
        The number of naturnlizntion petiUons which will be filed in tho
     coming fiscal yen1· will doubtless be larger than l1eretoforo, with o.
     resultant increase in nnturnlization invest.igntions required. This
     increase in naturalization fl1in~ is pretlicntecl on the fnct thnt tho
    large volume of postwn~ immigration ( war brides, clisplnced J>er-
    sons1 and so :forth) is just nhout stnrting to achieve the residential
    rtl<JUtrements .Prerequisite to Mturalization, viz 2 years in the case
    oft.hose married to citizens and 5 years in the cnse of nll others.
        Even without any increase in the number of im·estigntions, the
    number of investigators currently authorized is insufficient to main-
    tain ~uilibrium between the new cases arising and tho cnses dis-
    posed of.
20-cr-00134-RMP             ECF No. 78-7                  filed 12/22/21          PageID.976 Page 1
        180                                                         '
                   STAT.:. JUATJOIO, COM Mime.:, ,lUl>ICIAUY APNtOl'lllA'l'J()N8. 1OM)

                                                 l'IUtMONNKI,

          8Nmtor McOAIUUN, I notko thnt. you l\t't' not. nHl<iug fo1• ntay ,ultli-
       tlmml VN"Hotmol.
          Mi-. llAtiK•a·. No, Mh'. You nuthol'i1.,,t1 thnt mulN· th,, $:l,000,000
       supph,mtn\t., giving UN U27 1Uhlit iom,l t'mployt'<'N,
                                           O.\H.:-u,Ao 1•nom,uc
             'l'hf\ t'I\NO lrnul t•au·rit'tl by l'Ht•h inwst ignt 01· it1 Ho ln a·g,~ t hnt h,, ,·n nuot.
         eomhlt't, nil tlw h\\'l'Ntinntiun~ l't'lJllll't\trwithh, II l't'l\l•tH\l\hh, p,,,•irnl of
         Umo. A~ n l't'H\llt, Im he t'l\(J\lh't1tl to J.{l\'t' nttt'l\t ion tu t'lll'lt'N on n
        )>l'iol'ih· lmNis, 1t,,"·i11g tot lu, lnHt. t hoNt' t•onsh1t,,·,1tl h,nst IH't1ssi11){, Tiu,~,
        Uu, lnu:klop: of t•n1w,,1Jnt ion im·,,~t iJ,tnt ionH k,,,,pK mount inl,(, Hil\t't' t """"
        cnN11s tlo not. lu"'o n hiJ,th 1wiol'ity. Y,,t, in thn,1H lilU\ th,, pl't'St'Ht,
        wh,,n 1u·1u't ieulh· ''''l'I'\' fn,,,,,. of mu: wm·k in\'ol\',,:-1 ..om,,  "'"'"''if\'
        it. iM highh• u1uh~ia·ahfo to }\,n,·,, nn}' phnsn or t hl' wm·k few tlw iiult,ftnito
                                                                                                fnt'f or,
        futtm,. With am h1,•1\,nHi11g m1mluw of il\\'t~l i,-cntiont' in th,, otl\11g, it.
        iK uhviouo thnt thorns,, lond of th,, hulivhlua,l iuwNti~oto1• i~ lunuul
        to itlC.'l'\'Utlo unh~-. auhlit iounl 1m1~onnol tm\ ,u,tluwii,,,I.
            l\hn'l•OVUI', tlw f1u-t, thnt t Im t im,, of ,,u,,h h\\·,,~til,(ntot• i1-1 mo,._, t hnn
        fullv t.nkun uf> with t'UM\i ns."4il,{nt d 1t,,w,,~· no t im,, foa· ft·,,t,•11\Hl't' in-
                                                      1

       w;.it iJ{nt it1J(, n,·,,Ht i~nt ion of tho ll\tt,,,. ,mt m·,, iH t'i-t'-lt1 ut inl to nm· w,,11.
       intt,ga·ntt,d in,·,,l!Cti~nt ionul oa·~nniintion, foa· it not only p,wmitN tho
       do,·olopmont, of 1ulclitionnl ~o\ll't't'M of infm·ml\tion hut, mui,l hnput··
       tarnt., often 111Hults in 1\Wll\lt'H of im1uit•y not wit hill th,, putt um l't'-
      quh'tul by eJ10(,iflt' cnNOA n~iJ,tno,t.
           'l'ho m,tu,·nlir.ntion potN,tinl in tho Unitt,,l Stnh'ri h• on t.hl, in•
      cronse. Mo.'tt, of tho ma,,lt\l\ wnt• IU'itfoK ,utmilt€'tl 1whw to ,July 1, J0,18,
      undor tlm act. of l}tlt•t'\mhm' i!8 lt>-lb, au't, ,,liMihfo fm· nnt lll'l\lhmt ion.
      'l'his ga·oup, ph1M t.h,, 10!\,~02 ,iit4\>lnct'Cl pm~onM 1ulmltt,\d clnring tht,
      last 2 yoo1'8 1md tho hwrt'llkl' int u, numl•N' of otluw lnunigmntN nd-
      mittNI, Rignn IR am upwau'tl h·Nul in unturn lhmt Ion w,wk fo1· th,, m,,ct.
      tow ynna'M. IJ11Rt Yt'nt' OU,·UlT 11,w~01u• tll,,d thwlnrnt ionH of i11tl't1t ion to
      booomo clt.ilt\1\8     of     tho Unih'<l Stnto~-tha't't, thm,H thl\ mnnh,,,, lllt'll
      6 y0tu'8 ago.
              (,UJ\1'Atl.llNN1' (\1" 1,lUIU1"ATION l)\llll NU kl\U:1tm:Nu,· l't~ltH\l»I

       St'nnt.or lfoCAatRAN, Mr. Mnrkl'~♦• fol. m,, put. n. qm,,-tton to you thl\t,
     has boon In my mind lot· n lnnr Uml'. "'""'''Inn Wt\t' Ntntu!4 whl'th<'r
     wq at't\ In a wnr or not, Wo nro n~mhling 1\1\ nl'lny of s.~ mllHon
     or 4 nUJHoi,. You aro t-alRUng to UM hN" hcmr nftN· hour th" proh•
     lama that you hi\\'(\ to d<'nl         ,,m,
                                          tn thlA immlJ,trntfon work. llo you
     not tMnk that t.l1oro ahouhl bt\ a \'Ory dt'<"hfod <'\llinlhnl\nt. of nd ..
     mlfftli~I! Into this country durlo,t this wnr tlurlotl t
       1\(1'. MA01u~Y. I t.hlnk U,at should ha ~xplo~d.

                                   OlTIIIINJ'Ull' ,\T'l't,lOATIONR
        A1,plloatlon" for l't'rtlfleat.M of nrrlvnl and ~~lhnlMrY torm,a fol'
     dealarltlona of lntontlon wt'm rt'OOived durln,r 1DKO fav.m t t7.4Sts
     alfone. nn lnoreaso of 8R llOrt'cmt. ovor tho 86,416 ttoolvt'd tlurln,t 1tl40,
        I think wo cnn ex)>00t u1a,•y dNnnmlA UJlon .thl\ nnhn'Athmtlon·fot't'o
     u a result of conversion of lmluat.ry to <lofontK\ 1,roduoUon nnd tho
20-cr-00134-RMP                         ECF No. 78-7                    filed 12/22/21                      PageID.977 Page
       H'l'A'l'~, ,ltlK'l'ICIC, t'.OMMl<:lll'•!, ,lllllll'IAltt Al1 )•1tol'lt1ATION~, 1 un                                 1:47
       t'Ol\l'lll'l't'l\t.   itu 1'l'llt't\ iII
                                    1             1"11 ll)Ul\\'t'I'   l't'tlll h·,,1n,,11hc,       B1t~l1tl   upn,, ,,x ru,rl ..
        ,,11,·,1 1hu•i11u th,, ln~t w111· ll1t 11·nll\' thou~1uul~ of nllt'llt-4 will tnk,, td1 11u~ to
        ohtnin t 1 Uiwnship in ot·1lt1 r to 'm,1, 1t tlw ~tnCUH "'"l11it·t1tm1 11tN for ,ft,.
        f11 t1H,, imlustt·,· l'luplu,·11u111t. I h11·i11~ t lw lmd lh'l'irnl of ,h,f,,n"''' 1u·o-
        1hll't ion hot h' ,1111_plo,v',1r:-c nnil pt·o~p,1,•1 i~·,, 11mplo,,·"~'s ,•.out i111111 II~· h,,.
        "''''"'"l't I tlw 8111·,· 1t•,, to t n lw p1·om pt nt•tluu 011 upph,•n t HlllM 1'nlh'l'l'IH1d
        with 1111t111·nli1.ntio11.
            With t lw P'"'-"''"t t1111\,hn~il-4 upon mntl,11·~ 11 tl', 1,·ti11µ- iutt'l·nnl 1wt•111·il)',
       ti"' H,11·,·h·,1 l't1,•u~11iY-,1~ t "' itw1't111i-,1,I impo1·tn11t·,, of thu1•ou,.:h n11tl pni111,.
       tnldn,-c ,1x11111i1111tiu11 of 1111tu1·111h~ution nppli,•111111'4 ntul tl1t1it· wi11wss,,~
       i,io lhnt l 1ni1, 1tl Htntt,-c ,·it i1., 111ship will not lu1 ,·cmf,,r1·,1tl upon tllOM'
       who would tl, :-.t l'U\' our fo1·m of µm·, 1·111111111t. l,nst 1wn1· otll' otll,•N'M
                                1                                           1

       1·,11m1M 11\tt 1tl tilt' Uo\·,,1·u11w11t in tm,t.7:l 111111 I llt'nt·inJ,t~ l11' l'ltt'tlt 1tl h,• ,•0111·b~
       lo nppli,•111111'4 (01· ,1 iti1., 111Hhip. 'l'h,, ,•011rh~ follow,,,l th,, 1·,1,·01111111 111d11-
      t inn~ of tlw t\11l1•, 11·H of tlu, I mmiJ,!'rnt iu11 nntl Nnt lll't1li;1.11tion :-;,,1·,·h•,1 In
      OU.S    \"'"' t   11t of tlw t'llt-t'~ p1·, ~1 111t11I fo,· tlnnl lw1u·i11g. Nntur111i1.ntiun
                        1

      wns, ,,ni,1,I in ~,MH oft h,,:;,, 1•11st1s.
                                                         1    1




            A..:ith1 from tlll' i,fnlw of ,•n11f, 1r1·inJt ,,ifiwu~hip "\•on mul,~it·nlah,
      nlh\lu-t, ,1xp,,1•h 1n,•,, hnH ...howu thnt I h,,,.,, i~ n g1't111t th 1n of tlilll,•uh \' in
      cl, p1•h·it1J! 11 p, 1·son of hi~ ill, ,.rnlh· 01· f1·1111tluh 11t h· p1·rn·u1, tl nnt ui·111i•
         1                      1                         1                              1                     1

      r.nt ion. .J 11clJ,t11u1 nt ~ of 1111 t m·n li1.'nt ion w111·,, l'\1\'t~<, 1,I n11tl ,.,,,·t ifh•nt 118
      of 1111t111·nlir.11t ion l'IIIH'I'"'" in ·I Ht t•n~,1.~ ,htl'illJ.t w:,o, "" it1t'l't 111M 1 of l~n
      p,11·,·,1nt ow,· Ih,, l~ I ,•11s,1N ,luri111,t tlw 1wio1• ,·, 1111-.
           Tl111 l111t1r11nl Ht't'llt'h\' .\t'I o( IH~O 1uf,h~ to tht, •1uullll,·11tionH (01·
     ,,if i1.,,11Khip 1hnt tlw 111,,;lh-nnl \I) clt 111011~tt•11f,, nu nhilit \' twt nnh• to
                                                                        1


     t1IM'nl< th,, l•~nglit'h lnUJ.tllllJ.."l' ns l1t1t't1to(,,1'1' 1·,1t111it·,,,I, hut' nlt--o to 1\1ntl
     n1ul wa·ih, tht' l•~nJelish ln111,tun1,t1', nml (11) hulic•ntn un,h1 r onth n willin-.t•
     IU'AA to ht•t\l' n1·11tM 01• to 11111•form uon,·0111hnh111t >tt'l'\'h•,, 011 h,1hnlt of
     th,, \Tnift,,l Stnh'-.._ wht'U t't1c111h't'tl h\' lnw. tr th,, nppli, 1nnt ,,i,1tnhlb1h,,~
     thnt. hy l't'UHon of l't 1i1,tiot11'4 h·ninfn,r ntul ht Ji,,f lu, t 1111nnt tnk,, thiN
                                            1                                        1                  1

     outh 111, iH tl1t1n )'l'l'lllith'tl to tnk,, nn 011th Hitnpl\' ntr,,1·ing hit« fl•n,, fnith
     111111 nllt11,tinu,·,, to th,, CtmHt itution nml lnwH· or tlu, 11nitt,,I ~tnh'1'4,
     P,m,iunnt. to thlH now lnw tl1t, s.,,,,·1t .., mu~t ,,nil In nntl t'M,xnmhw np•
     Wlll'tlK of Ir.,ooo n1•11li,•nnt~ whosf\ p,,tit inHH tll't' 110\\' ,u,mling.
       H,,untcn· Mct'AIIHAN, 'l'hN't, iH nnotlll\r phnHt, to thn , Mr. M,wkt'Y,
     thnf,  hnH intoa,'Hto,I mo; nml thnt iM th,, t hn1·n, tt'I· of th,, wlt.m,~, K wlin
                                                                                1    1                               1

    h\"'tif\' "" to tlu, Jtoml morn I t hnr,wt.,r nf nn "Pfllit 1mt r,w c,lt liN,,-hlp.
                                                         1                                     1

    It. Nl't;mM to mo tlmt. wo Ill'" t'Xt't Nlin~lv lnx in thnt. lo oth,,r wm·,I~
                                                                  1
                                                                            1

    som,, t,,llow t'olllt~ ha nml iuHt. h\"tiflt'M thnt thiM mnn h, 1\ mnH of ,rootl
    nuwul dumu.,tt'l'j hut. ,·on iln not. k110w who tlm wltm,AA 111. 'l'hl'l't' it1
    no NN't't'nin,r of ,hn. '
       Mr. l\lAt'K"'Y· Shu•,, wn h1\\'t' Juul tht\ Intt,rnnl ~t't'Urlty A,,t. ,,rnl
    havo lmd tho nuthot'ity, M,-. ChRirmnn, wt, ha,·l\ lMm,,I n'pp1•01winto
    h1Hh'urt hmH to n11 d hd l'il't. oftl, t'l't1,        1

       SNmtol' Mu('AIUIAN, I um JlhHI of thnt ..
        Honntm• t•:u.r.Naum, 1 b,,lhwo th,,,'t, iK n lnxitv on th,, pnrt, of tho
    jnc1J.rOM in tho into1 urotation of tlm wa•lt. of hntx,n°R t'01 pu11.
                                        1                                                           1


        lfr. MAOKr.\". or ('0\U~l', Ht1nntm·. l\!t J Nl\V, \\'(' IU't' t1h01·t of mnn-
    J't)Wt'r, I nm \'t'l'Y t't'llll'tnnt, to t omo "'''" nnil ·n.-k Im• monl'\' ntul "'"'
                                                                  1

    tht\t, Wt' lll't'd aultfitloaml l1l'l,.omwl ht~'nu.«., T know It t'0Nh1 inont\y, }
    om ,•N•~• RNudt h•,, to t.h(\ tU't thnt nf)JllH't'ntly t't\t'h y,,,u· wo nt't, 1uiklng
    f09, 11\0l't) IHtll\l\\' t ht\11 \\'(\ l't'Cl\llll'lft,tl fot' th,, Jll't'\'lO\IN \'(11\I'. nut lf \\'(\
    aro to tluwou,rlily hm~tll{nto tWtwy wltnt'NN who n1,p,;nt"N in II nnhn·1,I•
20-cr-00134-RMP        ECF No. 78-7          filed 12/22/21          PageID.978 Page
       138        STATE, JUSTlCJ>, COMMERCE, JUDICIARY APPROPIUATI0NS, 1 OU

       izntion prooecding, you cam 1-entlily undo11stnncl tho burdon thnt is im•
       posed upon an investignting n~noy.
           Sonuto1· ltloCAURAN. bfr. .Mtll'koy, why would it. not ho possiblo to ro-
       duoo tho central force in view of t110 dl~<'l'llt,t·nl izut ion to tho fiuhl I
          :Afr. AIAoKt:Y. Wo luwe tfocontrnlizecl mud1 of tho contml ofllco
       wo1·k; but with tho lntornnl Socm•it.y Act. of toliO nml tho Alien Uogis-
       tl'ntion Act., Hl 11utor, wo hn<l to tnkl~ on ndditionnl Ju•lp, most of which
                       1

       is tempomry.
                           m:NEAROII ANI> J.:UUC.\1'10N l>I\'IHION

         8«mnto1· l\kCAtntAN. Whnt. wonhl \'Ott 8tW Hpl'cificu11y l\1'(\ tho costs
      of opcwnt ing the Ul'Hc•nrch nnd J.Mucait.ion J>h•ision t
         l\fr, M,,oKt:Y. I will hnvu to n~k .Mr. Loughrnn to t•ommN1t on thnt.
         8onntor McCARHAN, Tt•ll us whnt you Juul in 1050 nnd in 1051 nnd
      whnt is l>l'OJ>0sod for 1002.           •
        l\lr. A AOKt:Y. Mr. Loughrnn will nnswo1'.
        Honntot· McCAutuN. All right, l\lr. Loughrnn .
        .'Mr. LommRAN, 'l'ho l'stimnto for 1052 is $~tH,:J8Ci.
        8en11tor McCA1m.\N, Whnt is done in t.hnt. Dh'ision of Rl'Hl'nrrh nn<l
      Eclucntion Y
        Mr. LouuunAN, 'J'hey tnko rnro of tho edurntion of tho nlions
       and--
         Rcmntor McCARIL\N, Tho cducntion of the nlionsi
         l\fr. LouonRAN. Thov is.'luo text.books.
         Senator MoCARRAN. ·wm you give mo thnt ngnin: 'I'ho cducnt.ion
       of tho aliens 9                 ·
         Mr. LouonRAN. Tho education of the aliens who npp]y for citizen•
       ship. Citizenship textbooks are propnred nncl distributed through-
       out the countr:v.
         Senator MoOAnRAN. Is not that done Jnrgcly by voluntary service
       throughout the country W
         Mr. LotroBRAN. 'l'hey do not ))N'J>nro tho tl'xtbooks. In fnct., wo
      l1Rvo innumt:\rablo requests from Congi·essnum uncl other int.erC'stl'<l
       porsons, both in Wnshington and throughout tho Stntos, for ncldi-
      tlom\l textbooks.
         Mr. MAOllEY. I might sny thnt that Dh'ision coorclinnfe.q tho "nl'ious
      oit.izenship encl Amorica11izntion schools throughout the country.
      That is one of its functions, ancl, of course, it prepares nud clistributos
      tho citizonship textbook.
         Senator MoCARRAN. I know of plnces whore tonol1ers in tho public
      schools volunteer their services without componsntion to educate these
      aliens and tnke them on at night school.
         How many textbooks are P.ropnred each year and nt what cost t
      How m1my are used onoh yonr t
         Mr. :MACKEY. WiU you let us give you those fncts for the record,
      Senntort          .
         Sonnt.or McCARRAN. Yes. I would like to have that. I would like
      to Pee tl1e figures on tho cost.        .
         Mr. MAORBY. I think we can supply that for the record rather than
      gue8$ing,
20-cr-00134-RMP                  ECF No. 78-7                     filed 12/22/21               PageID.979 Page
      STATE, JUSTICE, COMMERCE, JUDICIARY APPROPRIATIONA, t OU                                        139
            (1'ho informntion r<'qU(lstctl is ns follows:)


                                                                         UbtrlhUll>tl   l'urthn.~1           Cost

     10!0.••••......••••...•••... ·•······················ ........ .        JOO, Crl'I.      103, t.00     ,11>, i07
     JIUO .••••••••••••••••••.••••.•••..•.••.•...•••..•.....•.•.....         lfll,. 628 .••.••••••..•.••••••.•......
     llMB .•••••••••••••••••••.•••.•.•.•....••..•.•......••....... ...       UU, 000          UH. 000         36. 60&

        Mr. LotromuN. 'I'hnt Dil'ision is ttl!m l'l'Hponsihlo fol' tho stnt.isticnl
     Hf udh1s oft ho 8l1 t'\'it•t1• 'l'lll'Y tnkl' r1u·t, of tlw prt1 1m1·nt ion of stntist ics,
     tlm gutlwl'iug of stntist il's,' 111ul tht'\' nlso hnnd o H}>l'cilll studioH on
     in11ni1,trnt ion ·,uul populnt ion trt1 n«1s:
                                       1>1-:(:J{N'J'H,\1,I1..\'flffX PHOOHA 'M

         Ht•nntor McC.,mr.\X, Now, on J>IIA'l' ~?:\ of tlH' first jm,tifkntio11s su1J-
     1nittt1d to tht1 t•m11111itt,,,,, I noh• thnt us of Mnrd1 1, rnr,o, ~·ou hn,·o
     dt l'< ntl·nlizNI till' Ht•1·,·il't', Whnt. Ul'O t )w H}ll'<'iffo m·t•o111plishnu 11ts of
        1   1                                                                                            1


     this clt•ct•nt l'Uliznl ion, Ma·. l\lnt•kt l Whnt. woultl :nm ~my hns ht tm
                                                         1
                                                             \'
                                                                                                                1


     nt·t·o111plislwd hy it i                    ·                       •
        l\lr. M.\ctu-:y: It. Ht•r,·rd n Yt'l'\' HHPful d>m•post, in mnny l'(l~P<'rts,
     8Pnntor1 hr <ll'll'gntiug nuthoritv'to fil'ld o il'rrs to hnndll~ 11ml disposo
     of <'l't'fnm ·t)'IH'H of c•nst•s nt fiol<l-ofHce le\'ul.
                                JU-~•:.\UOJI ANI> t:otTCATION' l>l\'IHWN

       HNrntor l\lcC.rnn.,x. Whnt, nrt, tho fnnrtions of thl' 7:l positions in
     tho Uusl•nrt•h nml I•Mnention Dh-ision·Ahown on pngo 8 of tho supplc-
     mentnl justifll'ntions Y
       Mr. MAC,Kl!Y. l\fn)' W(l snbmit. thnt for tho r(leord, ~id
       Hl'nntot· l\loCAIUUN. Yt1s,
       ('l'ho informntion requested is ns follows:)
                FtJNUTION8   or TIiie RRln:.\ncn,     FJ)U(•ATION, AND JNFORVATION J)l\'JEIION

         Ht1NIM•11t1lhlo tor t>romotlng h1Htructlon n111l trnh1lng In <'ltlit•nNhlt> rt1Rponslbl11·
      th•N of n1•1•ll<'nntM tor nutnrnl11.nt1011, nt1 ntathorlv.c•cl hy Nt'<•tlon :12; (c), .Nntlonullty
      A(•t of 1040, lm•lttdlng su1wr\'IAlon of tho Jm•pnrntlou, rmhlh!ittlon, nn<I ttlstrlhutlon
      of th(l <'ltlv.c•md1t1, h•xthook nuthorl?.('(} h~· Rnht RUhNN•tlon, mul hy NN'tlon SH:
      1,rcpnrl11g aunt nunlp.ing tlntn on tile' work ot thl1 8(lr,·ko nR tllrl'Ctl'd hi• S('Ctlon
     841\ of Mnhl m•t ut 1040, nn,I othl'r lll'h~. Th(l rt1s11011Rlhllltll'R of thlR Division,
      tlnclM Nt1('h Atntuh•R, Include rno1wrntlng with pnblll' Rrhoo1A nud otlu'r nttt•nch•R
      In fh(l <lcwoloJmll'nt ot pnhllr.•N<•hool progrnmH of l'chwntlon tor n1lnlt nlll'ns;
     semllng to Nttrh HC'hoolR th(l mm1N1 of cnnclhlnt<'H for nntm·nllzntlon: RRNIRtln,:
      thP Commissioner of lmml,:rntlon nlHl Nnturnllzntlon In 11N•ldfng n()(ln thl' nnturo
     an«l rn•opo or tho cxnmlnntlon of p•tttlono1·A tor unturnt11.ntlon to 1Mt•rmlne thrlr
   · tnulerittnndln,c of the tnmln1t1('11fnl 1,rhll'lpl<'R of tho f'oru1tlt11t1on tor tho purpose
     or mnklng n11protlrlnf(' rt'C'ommNulntlonR to lltt' nnturnllzntton <'O\lrtA; condttl'tlng
     RIK'<'lnl h'<•lmlrnl Hfmllt•H of lmml,crntlon nml nnttwnllzntlon: mnlntnlnlng nn
     llu)('X•<IIJWHt RYRtem emhrnrlug tlu• hlWR, r<•guJntlonR, oJllnlom,, ntul dl'l'hdon11
     rt'lntlng to flt(' t('('lmlcnl work ot the Runlrf': tlrl'pni'lnJr nml mnlntnlnlng mnnunlM
     on lmmlgrntlon nml nntlonnllty from tho ,1ntn rf.'Corll(lfl In Rtll'h lndt•x-dlgNtt
     RYNt<'m: 1,rt'Jmrlng thr mnh1rlnl tor t'Olllllllnflnn of thr ln\VIJ nn,1 rl'1:nlntlons of
     the, SPr\'lrP: Ht11wr,·IAl11g tt,r <'tilting of Rtl<'h 1mh1lrntlonM mul r<'lnt1•,t JmhlfrnttonM
    of tt,r SPrvlet': prt'JNtrlng r"gnlntlom~ tor lnl'ltUdon In tltlP R of tilt' ('-O()p of
     J.~c<IC'rnl JfogulnttonR, nnd 0J)(lrnttouH lrn~trU<·UuuM; hnmllhi,t n111,11,,ut1011H tor tho
    t-ertlflcntlon ot nny 1mrt of tho nuhtrnllzntlon r(l(•ordH nml fo1· lnformntlou from
:20-cr-00134-RMP         ECF No. 78-7             filed 12/22/21            PageID.980 Page 2
          140       STATE, JUSTIC», COMMERCE,· JUDICIARY APPROPRIATIONS, 1932

           the records of the Service: turnleblng lnformntlon where ndvlsnble from Service
           flies by telephone nnd personnlly to lndlvldunls mnklng nppll<'ntton therefor; con•
           du<.•tlng nil pubtlc-relntlons work ot the Service: editing the Monthly Review of
           the Senlce; nnd complllng nnd nnnlyzlng stntlstlcs of the operations of the
           Servl<'O and of the ftel<l_s of lmmlgrntlon nnd nntlonnllty generally.
           Tho Aulstanl (Jommluloncr for Research, Fld11catlon, att,J Information
              Responsible for encourngtng, promoting, 111\d cx1>nndlng tho public-school p1·0•
          gram of edncntlon to nsslst ndnlt nllens throughout the Unltecl Stntes In qunllfy.
          Ing for cltlzenshlp, by coo11erntlng with public ~c•hools nml othC'r ogtlnclPs;
          coordlnntlng snd1 oducntlonnl progrnm with the naturalization work as con-
          ducted by the Service; publishing citizenship text materlnls for u~e In public-
          school ctnsses by llnturnllzntlon candldntes; Rd\'lslng, where prnctlcnbte, ln tho
         orgnnlzntlon of I Am An Amerlcnn Doy nctlvltles; assisting Ill tho tfo\'elopment
         -of more mennlngful court Induction cerl\monles for new cltlzem1, ns spcclftrd
          Ill the resolution of Congress npprovcd l\fny 3, 1040; mnklng npproprlnte con•
         tncts with news agencies. motion picture, nnct televlslon re1ne~N1fnt1,••\i,i, nnd
         conducting the publlc-retattons work of tho Service, acting as teehnlcnl adviser
         to motion-picture compnnlcs In the prepnrntlon of movle scripts on matters
         relntlng to Ser,·lcc nctMtles; nod carrying on correspondence nnd conferences
         tncldent to the foregoing.
         Statiatlca Sectioti
               Responsible for tho definition, <.'Ollectlon, prcsentntlon, nnntysts, nnd lntl'rpre-
           tntton of stntlstlCR of the Service co,wernlng lmmlgrntlon nnd nntlonnuty, cover•
           Ing dntn on (1) migration of nlfens nml c•r.tz< 11R; (2) nnturnllv.atlou of nlh•nK,
                                                             1

           derivative clt1zem1blp, repntrlntlon, nncJ ex1mtrlntlon: (3) ntlen r<'glstrntfon;
           ( 4) lnw enforcement, I. e.. exclusion of nonndmlt1slhlc nlll'nH: npp1·ehcnslon
           and deportation of nllens Ulegnlly ln tho Unlted Stntes i (5) ndjmlkntlvc tune
           tlons drlegnted to tho SenJce by Jnw nnd rf'gulntlons.
              Dnta obtnlne<l for the clnRseR above are presented to show relntlonshlps In
          terms of natlonnllty, geogrnphlc distribution, oecupatlon. age, sex, mnrltnt status,
          and other categories determine<) by npptlcable statutes nnd regulntlons. Stn-
          Uetlcnl analyses nnd technical studies nre made (1) for ndmlnlstrntlve use
          nnfl guidance In determining ndmlnlstrntlve procedures nnd potlcles; (2) for
          enluatlng the effectiveness of the various pnrte of the tmmlgrntlon and nation•
          atlty tnws pnssecl by Congress i (8) for general Information for reports to
          Congress. for budget estimates. for congresslonnt committees nnd the publlc
          interested ln mlgrntlon and citizenship: nnd (4) for the use of other Oo\'C'rn-
          ment agencies. Consult and advise staff and operating officiate regnrdtng pro-
         ceclurcs, etotletlcal ettulles, workloads, nml other operating functions; rl"nr
          requests to the field for tnbulntlons nnd r('porte i rtlpresent the Sl'r\'lre on tntPr•
          dPJ)Rrtmental committees to coordinate the statletlcal work of this BenlCC' with
         thnt of other Government agencies; represent the Ser\'lre In Interdepartmental
         committees for the Improvement of lnternnUonal migration statlstlcs.
         Dlgeal and Manual Btctlon
            ''The work of the Dl"est aml l\lnnual Section tnrlmles two 11rlnrlpal nrenR
       .of r~ponslblllt7: (1) The Immigration and nattonnllt1 manuals: and (2) the
         Jndex-dtgeet system. The Immigration and nationality manuals are analytical
         ond, exposltory presentations ln the noture of source hooks issued for the
         guidance· ot the Service. They reflect accepted practices and p0llcles, and
         Jnrorporote the substance of oppllcable statut~, regulations, Instructions,
       . Judicial, and administrative declstons1 and other pertinent materlnls-all In
         bitegrated form. It le the functlon or this section to revise such manuals b:,
         preparing new materlols to keep them current by replacements and additions,
         requlr.ln1 constant and continued suneye and court declalona. The index.
         dlgesf s1stem Is a compilation of digested Judicial nn<I arhnlnh,trath·e hrnt1·11t·•
         tlons, approprlntely lndexed, maintained to guide operating officers nnd otbPr
         Service offlclnls to autborlUes pertinent ln dete1·mlnlng tho coses presented to
         them. The Digest und Manual Sectlon mnlntaln8 the Index-digest and keeps It
        <!Urrent bj analyzing, <1lgesttn1t. nnd lnde:'dng all Important pertinent Judklnl and
        inlmlnlstratlve declatone and other authorf tles.
        Otmoral Butarc1& Section                 ,
          The work ot the General Research Section fal\a Into tour prtnclpnl nrenR:
        (1) Preparing technical studies needed for the Information and guidance of the
        Service, utlUztng pertinent atntlattcat data and other mater1nls, as well ns
20-cr-00134-RMP
        STATE, JUSTICE,ECF No. 78-7
                        COMMERCE,      filedAPPROP~IATIQNS,
                                  JUDICIARY  12/22/21 PageID.981
                                                            1932 141 Page
         research publlcntlons of other Government agencies un<l lmlMdunl scholars;
         (2) su(lplylng-ln response to re<1uests from Members of Coug1·ess, other Oo,•eru-
        mcnt agencies, nnd private lndl\'l<lunls nod orgonlzntlons-tcchnlcul nrtlcles.
        comJ)llntlone, and special reports concerning the regulntlon of lmmlgrntlon nnd
        11nturnllzntlon, and tho foreign-born in the United States, vnrtlculnrly the nllcn
        po1mlntlon; such 111ntorJale dcnllng with tho various social, economlc, nnd demo-
        1,,'l'nphlc ch01·nct01·1Htlcs or tho foreign-born uo1mlntlou of tho United StnteH;
        (3) editing tho Immlgrntlon and Nntnrnlhmtlon Ser,·lce Monthly Itcvlew; (4)
        cna•rylng out 1·twlsed llterncy test rending cords with trnnetntlons into tho
        vnrJous lnnguoges used by Immigrants.
        Information amt lt1atr1wtlon, Section
          Itespouslble for tho functions of drafting nnd prcpnrlng rcgulntlons tor lnclu-
        slou In title 8 of tho Code of lt'edernl Uegulntlons, nnd 01Mm1tloue Instructions.
          Uesponslblo tor tho bundling of n11pllcntlons for the certlflcntlon of nny purt
        ot the nnturallzntlon rct'Ords ot nny court or of nny certlflcotc or nnturullzutlon
        or cltlzensblp tor use 111 complying with nny stntute, Stnte or Federul, or in nny
       judlclul J>rocl'C<Jlng ns 11ro,•lded for ln section 841 (e) of tho Nntlonnllty Act of
       1040; oppllcntlons for lnformutlon from, or co1>les of, the records of the Sl'nlce,
       either certified or not, ns provided for under section 34~ (b) (8) of tho Nutlon-
       uUty Act of 1040; uppllcotlon for lnformntlon of n general nnd routine nature;
       prepnres contldentlnl abstracts of lnformntlon contained in Service files In
       rcspon~o to Inquiries from the Fodernl nui·cnu of ln\'estlgntlon of all corre•
       spondencc relntlvc to tho foregoing functions.
          UeH1>011slblo for mulntnlnlng nu iuformntlon ofllce for tho tumhd1lng of
       Information from Senlce flies by telephone nud peraonully to lndlvldunl3 muklng
       uppllcntlon therefor, and tor the rec(!ptlon of lutlMduuls wishing to SL\C Sef\'lco
       offlclnls,
                                CENTRAL O}'.PICE n:ttSONNl:L

             Senator llcCA1mAN. I note thnt nn increase in tho centrnl office
          force occurred after tho <lceentrnlizntion took pince. Why should
          this beY
             Mr. MACKEY. They were employees thnt were uecessnry in con-
          nection with the processing of the nlien registrution cnrds rcceiYed
          from tho field. Up to tho moment we have received nround 2,300,000
         such curds. As we get those cnrds tlu,y nro processed through by
         tabulating mnchines. 'fhen we hnve to mntch them up with tho files;
         and, if we get a file where there is no curd, we hnve renson to belic,'e
         that thnt alien did not register. We will send him a nice note telling
       'him to register.
       · Senator McCARRAN, Alien re~istrntion seems to have required an
         increase of 10, while tho Admmistrntion Division hus required an
        incrense of 16. Likewise, t11e Enforooment Division has required an
        increase of 20 and the AdJudication Division, 20 •
            .Mr. Louo11RAN. Tho increase of 10 positions in tho Administrntion
        Division is part of the 627 pcrmnnent \)Ositions ¥.ranted us by the
        Congress as a result of the Internnl Secm·1ty Act. l'hose 16J>os1tions
        follow the staffing stnndnrds prescribed by the Bureau of the Budget.-
        so mnny for personnel, so many :for ser,,ices and supplies, and so many
        for bookkeeping nnd payroll.
            The other increase there is for the ndditionl\l central office 1>ositions
       aUowcd by the Congress as a re.quit of the Internal Security Act of
       1950. There is a large increase in temporary personnel in the central
     _offlce .ns )fr.. Mack~y hns explained. They are to handle and process
       the a1um registration address cards~
           Senntor McCARRAN. Why should the greater number, 20, be applied
     . to the Adjudication Division t
20-cr-00134-RMP
        142 STATE,ECF  No. 78-7 filed 12/22/21 PageID.982 Page
                   JUSTICW, COMMERCE, JUDICIARY APPROPRIATIONS, 1032

           Mr. MAOKEY, Thnt is beenttse of tho bncklog of cnses thnt hns nccmn-
        ulnted there, Sennto1-. We nro right on top of thnt. I hnd n RUl'vey
        mado of tho Adjudicntion Division; nncl I nm t.hinking now, Smmtor1
        of reorgnnizing tho Division. But right. now we hn,·o n bncklog of
        so-cn1led suspt'nsion cnsm~ thnt we hnvf.' hnd to bnrklog in ordN· to givo
        nttent.ion to other cnslls thnt wero of more urgunt pl'iority.
        t•ROPOSAI~ TO RKatO\'}! }!XKUP'l'ION uNm:n ADlUNIR'l'ltATl\'•: 1•noct:Ul'IU!S A{YI'

           Senntor l\IoCAnRAN. Now, lnst y('nt' Mr. Mnc•k('y, tht'l'<' wns n ridN·
        put in by tho Hot1se exempting "tho Inuni1,?rntio11 St r,·il'e from tho
                                                                          1

        1,rovisions of the Administrntive ProcNlnro Art~ in order to o,•twt•omo
        tho effect, of the Sung <l(lCision in the Auprem(' Court. Yon will ret•nll
        that this decision cnlled for n sepnmt.ion of lwnl'inµ- nnd C1xnmining
       ofllcers in dcportntion proceedings. I note on pni;(e 7 of your supplll-
        mentnl fostificntions thnt yon nrc r('qttef-lting no inr1·t nse "in J>l't"Hon1wl
                                                                      1


       for 1052. Now1 I proposp to r('rommt rnl tlw dl'lf:ltion of t 1is ri<IN·.
                                                      1

       Wh11t do you tlunk nbout thnt t
          I,Ir. l\f.\CKJ!Y. I should like to hnve our ,.tl'll"l'lll counsl'I. Mr. Win-
       ings, answer thnt.
          SPnntor McUumAN. All right. In other words, vom· n<'pn,·tnl('nt
       wns e1iminntcd from the effN;ts of Administrntion J>r<)('Nlttt't' Ac·t.
          Mr. 1\facK1-!Y, Yes, sir.
          Senntor l\foCARRAN. But. tho St1pl'('me Court Jnid down n rl't-tnin
       regulntion which should be nccomplished, and thl' Housf' sou1,?ht to
       carry thnt out.
          Mr. MACKEY. Thnt is right, sir.
          Senator McCARRAN, Now, you nre not, nskin1r for nn,Y ndditionnl
       personnel, so it looks to me n"s though you nrc nbnndomng thnt this
       yea~                        ·
                        8EAROII FOR <".Oltl•ETJ-:NT IIEARINO OFPICRR8

          Mr. l\lAOKEY. Oh, no; we are not nhntuloninA' thnt. Her(' is whnt.
       we are doing, Senator: We mnd<' a scl'vice-wide rnn\'nss of nll J><'rsons
       "'hom we thought might ho eligible ns henring offlcel's. I think some
       600 of the employees npplicd        for thoso positions.
             A bonrd, the membe1-s of whir.h wm·e rom1>osNl of one from tho
         Dopnrt~cnt of .Justice1 one from n1Y cN1tt•nl oflire, the, <l~strirt. dit't'rtor
         nt, Detr01t, nnrl n mNnt>er of the Civil Scr,·1re Comm1ss1on, went O\'tlr
        nll of these RJ>J)1irationf\. I think t.lmt. out of the 600 we got. nronn<l 107.
             Senntor 1\fcCAmux. Whnt functions do th('y perform?
             l\lr. l\faortEY. They will sit. nnd henr wnra=unt nncl exdusion pro-
        <'eeding9. However, 'being conscious of tho disse1iting opinion of tho
        Sung dechdon, when we linndlo sub,•ct-sive cnsN1 or ci·iminnl nnd im-
        mornl cnses we follow the 11rocedttres requlrecl under the Adrninist.rn.-
        tive Procedure Act, You see, we will use tho henring officer nnd t.ho
        exnminlng offir<'r. However, in the grl'nt. mnjo1·ity of ruses, there will
        ho only 0110 henrh1g officer.
            '!11m·e is nnothor thin,r, Senntor, thnt- I should liko to get. into tho
        record.· With regnrd to these thousnnds of Mcxicnns who 111-0 now
      , cominir ncrrn:;.q the border, mnny of t,hl'm now, on the aulvi<.'e of roun-
      ,sel4nd some. nttorneys ~l'C <:Ven gohig so ·fnr ,ns ncl\'el'tising-nre be-
       coming consc1ous of thmr right to henrln~. When wo nsk them
       whet.her they will clepn.rt to :Mexico vohmtnri1y, thoy will sny, "No, I
20-cr-00134-RMP           ECF No. 78-7            filed 12/22/21           PageID.983 Page
      STMrE, JUSfl'ICJ.~, COMMERC•~, JUDlCIA,UY APPROPRIATIONS, l OIS2             143
       wnnt n hl'n1·h11,t~" knowing thnt. thoy wilt hl' porrnittC'cl to l'('tnuin h(ll'O
       Pit lwt· itr tl<'h1 11t ion or on bond.
           Now, WU simp1\' do not hnw thl' dl'fl'ntion (nf'ilitiPH to hold them,
       nncl WO l\l'e l'Ph nsi11g t)wm on bond. Whilt~ tlwy lll'U Oil hottd, thoy
                         1

      w01·k.
          H"nntor M<'C,rnnAN, Who puts up t)wir hond i
          1\11•, 1{•:r.t,Y. Mm;t of tht'lll n1·t out. without hond l)(l<'llllHe WP luwo no
                                              1

      nlt(•rnnt h'(', Wt, h1n•p no p1nt'l' to dl't nin thC'n1, nml wn must. rPIPnso
     ·tlwm .
          .Mr. M,w10,:y, 'l'lwv ,•nnnot. pnt up n homl, nml Wl' lun·o 110 plnco
      to <l<•tnin tlwn1. Of i•ot11':..l', onru tlwv <lPmnrnl n lwnrinl,!', th<' <'Ill,;(' hns
      to i-;tn\' inn JH'rnlin~ stnt11H until tht• lil'nrinir ofli<•t•r cnn l'Pn<'h thnt. cnsc.
      ~lull\; of tlwrn 111·,, npplvin1,t for H11s1n•rndo11 of ch•portntion.
         HPirntot· McC.,mus. bm JOH not <l('tnin tlwm luu·k n<•roHs the linP in
     lfl'Xi<'o'l
         ::\Ir. ~L\r1rnY. Tlwv t•oulcl hP: \'l'S, sir.
         Xow. us fnr ns flu~ MPxi,•nn l1,horPI' is <'Olll'(ll'IINl, lw is n hnrmh'H..ll
     imli\'i<l11nl. J think tlm dolln1· i~ worth nhnut 8,U ,,P~oi.., lit' wi11 <'omo
     O\'N' with his Jm•gnnnt wif"; nnd, inn ft•w mont 1s, the bnhy is horn.
     Ho tlwu ht• nppliPs for n i,;m,pt 11sion of ch•portntion m1 tlw l,!l'o1tnd thnt
                                          1

     his cll p01·tnf1011 would l'P~ttlt in n i•wrious l'<'Ollomi<• d('fl'inwnt to n.
              1


     t•itb~('ll or tlH' (T11ilt'd Htntps; to wit, his SOIi 0)' his d1rnghtC'l'.
         HPnntor l•~r.u:~m:u. 'rlwr<' Ill'<' tt·idu1 in nll trnch•s,


       SP1mtor ~kC.,mus. I 110ti('t'<l, Mr. :\lnckr,._ thnt you wnnt nn in-
                tIll' ll mot mt tO llH'l't \Ill fot'('SPl'II ('llll'iw•nl'it•s:
     <·11•nse j ll
       ~Ir. MAcK•:Y. 'l'hnt is thl' ronfidC'ntinl fund.
       Ht•nnt 01· ~kCAmu s. Tht l'< )'OIi nr<~ nskin1,r for nn htl'l'f'nse from
                                      1   1


     $20,000 to $Ml,000. It is within vom· f!<'ll('l'nl np)lroprintion,
       Mr. M,u'Kt:Y. Yf'I-q no mot'<' m,11wy 1:-; r<•qm•stNl.                   .


        Sl1 1mtor ~kCAtmAN. You wea~ l,!'l'nnted nuthorit.y during the rm·1·N1t
    yent· to p11rd1nse mo nutomobiles. NPxt. VPIU' voi1 wnnt nuthority to
    imrdinsc 212 nutomohill1H. Whnt is tlw ji1stifi<:ntion for this ite111?
        Mr. Lm:umuN. You will t'('<•nll thnt d11rin1,t tlw l'l'<'<'nt. wnr "''-' wero
    not. nhlP to pm·t•luts(l nntomot iw equi,,ment, ns most oft lw ot hPr nµt n-        1

    l'i<1s could not. Thon nt th<' <'ltd oft tl' wnr wo Wl'I'<' nlJow<'d to buy a
    1mmbm· of cnrs luwnusu om· old l'<JttipmPnt. hnd com))l<'l<'IY worn out.
    'fho result is thnt mnny of our t•n1-s-m fau·t, a littlo over 2~1 percent. of
    our fleet-mol't' thnn 'm<'ets the sttuu1nrd of no 000 mill's sC't hv the
    Dm·<'ntt of tho Ilud~ot. ln other words, npproxlninh•ly 25 perct;nt. of
    out· IIN t. would he completeh· worn out, nnd it just. woitld not pnv tho
              1

    Oo,·N·nm<'nt. to hn\'e thNn t•cmstnntly l'l~pnh-ed.                         •
        8onnto1· McCAHHAN, How mnny <'nt-s hnve you altogether'l
        Mi-. Lol'OltllAN. soa.
        Scmnto1· .McCAmrAN. Aro thoy scnttl'red nll over the United Stntest
      Mr. LouoHn.\N, Yes, sir,            •
      Smmtor Mc(\\ntlAN. And you wnnt to inrrcnse th<'m by 212?
:20-cr-00134-RMP      ECF No. 78-7           filed 12/22/21       PageID.984 Page 2
         144      BTATE, JUSTICE>, COMMERCE, JUDICIARY APPROPRIATIONS, 1962

             Mr. LouonRAN. No; we just want authority to replace 212 rather
           thnn llSO. We have hnd authority for a 1mmbe1· of years tD roplnco
         . 160 cars. We are nskh!g for tutthority to replnco, not 150 but 212.
             Senator McCAURAN. Hnve you anything it1rth01· you wunt to say,
          l\Ir. l\fockey9
             Mr. MACKEY. That is about nil at this time.
             Senator McCAnRAN. Are there any questions, Sonutors1
                                  lU:XlCAN   nonmm   1-A'l'ltOL

               Senator ELLENDER. I would like to nsk, Mr. Muckey, whether you
            are going to como buck to us for more help on this Mexican border
           patrol¥
               Mr. MACKEY. We may bnve to come bnck, Scnnto1· Ellendot" I do
           not know nbout thnt. I think the proposecl legislation, if ennclc(l, will
           help us n Jot.
               Senator Er,LENDER. You mean in running them down 1
               l\fr. ~IAcKu. 'l'hut is right. 'l'hnt is your bill.
         . . ~en~tor E~LENDER. 'l'hat was my idea, and Senator McCarrnn hus
          1t m )us.
               Mr. MACKEY. I wns so hnppy when I henrd thnt you were going
          down to Mexico City to nttenil tlint conference.
              Senator McCARRAN. Aro th.ere nny further questions, gentlemen 1
              Senator ELLENDER. I hnve nothing further.
              Mr. MACKEY. I only h~pe, Senatorf you will give us all we nsk for.
              8cnntor McCAnnAN. Well, we wiJ do the best we cnn under tho
         circumstances. We have an everlasting obligation to try to curtail
         expenditures.
            . Mr. MACKEY. We will try to do the best we can with whntever you
         give us.
             Senntor McCARRAN. We thnnk you.
             Mr. MACKEY. '!'hank you, Mr. Chairman and gentlemen of the
         committee.
             Senator 'MoCARRAN. The committee will recess at this time and
         reconvene at 10 o'clock tomorrow morning.
              (WhereUJ?On, at 12 o'clock noon, Thursday, March 8, 1051, a rect'ss
       , was taken, the subcommittee to reconvene at 10 a. m., Monday, March
         12, 1961.)
